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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

In re:                                               Case No. 14-22974-BKC-LMI

MASSA FALIDA DO BANCO                                Chapter 15
CRUZIERO DO SUL, S.A.,

       Debtor in Foreign Proceeding.
_____________________________________/
LASPRO CONSULTORES LTDA.,                            Adv. Case No. 16-01315-LMI
A Brazilian Sociedade Limitada,

           Plaintiff,
v.

ALINIA CORPORATION, a British Virgin
Islands Company Limited by Shares and 110
CPS, Inc., A British Virgin Islands company
Limited by Shares

      Defendants.
_____________________________________/

                   DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT

              Defendants, Alinia Corporation (“Alina”) and 110 CPS, Inc. (“CPS”) (collectively, the

“Defendants”), by and through their undersigned counsel and pursuant to Bankruptcy Rule 7012

and Rules 12(b)(1) and (6), Federal Rules of Civil Procedure, move to dismiss Plaintiff, Laspro

Consultores, Ltda’s (the “Plaintiff” or the “Trustee”) Amended Adversary Complaint (ECF

No.25) (the “Amended Complaint”), and as grounds therefor say:

                                      I.     INTRODUCTION

              No sooner had this Court issued orders establishing a briefing schedule and setting a

hearing on Defendants’ Motion to Dismiss Plaintiff’s initial Complaint (ECF No. 23), than

Plaintiff beat a hasty retreat, filing its Amended Complaint. This new pleading is even more

prolix than its predecessor, sprawling over fifty pages and now containing thirty-six counts.



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Despite these efforts, the Plaintiff still does not state a claim. Many of the counts continue to

request avoidance remedies, forbidden to a foreign trustee. The Plaintiff has still not alleged

that the Brazilian Bankruptcy Court has granted it the authority to hire counsel in Florida and

authorized the filing of this action. Nor has the Plaintiff alleged that that the Brazilian courts

have found that the property of the corporate defendants can be subjected to claims by the estate

both of which are necessary to confer standing on the Trustee to maintain its claims.

              Some of the newly added counts verge on the metaphysical, accusing the Defendants

(who must act through their principals) of aiding and abetting their principals in breaching their

fiduciary duties as officers of the Debtor, converting the Debtor’s property and defrauding the

Debtor. Corporations cannot aid and abet their principals as a matter of law.

              The Brazilian statutes alleged by Plaintiff are not suited to the purpose for which

Plaintiff would like to use them, which highlights the fact that this action does not belong in this

Court. Further, the statute of limitation has already run on three of the Brazilian causes of

action. The Trustee cannot state a claim and lacks standing. Consequently, this Court lacks

subject matter jurisdiction and should dismiss the Amended Complaint with prejudice.

                              II.    THE AMENDED COMPLAINT

              The Amended Complaint alleges the same background facts as the initial Complaint

and still seeks to obtain title to the same two New York apartments (the “Apartments”) and the

artwork contained in them (the “Art”).. Whereas the initial Complaint contained 24 counts, all

of them requesting avoidance remedies against the Apartments and the Art, the Amended

Complaint now has thirty-six counts which attempt to allege claims under New York and

Brazilian law.




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              The Plaintiff has organized the Complaint so that it alleges the same twelve counts

against the two Apartments and the Art. These counts consist of:

           (a) Constructive Trust/Equitable Lien;

           (b) New York Fraudulent Conveyance Statute, N.Y. DCL §273;

           (c) New York Fraudulent Conveyance Statute, N.Y. DCL §274

           (d) New York Fraudulent Conveyance Statute, N.Y. DCL §275;

           (e) New York Fraudulent Conveyance Statute, N.Y. DCL 276;

           (f) Aiding and Abetting Breach of Fiduciary Duty;

           (g) Aiding and Abetting Conversion;

           (h) Aiding and Abetting Fraud;

           (i) Brazilian Law No. 8.078/1990-of the Brazilian Consumer Protection

           Law;

           (j) Article 186 of the Brazilian Civil Code;

           (k) Article 884 of the Brazilian Civil Code; and

           (l) Article 130 of the Brazilian Bankruptcy and Judicial Reorganization

Law.

              The Amended Complaint alleges as a basis for all these claims that Luis Felippe Indio

da Costa (“Felippe”) and Luis Octavio Indio da Costa (“Octavio”), the former owners of the

Debtor,, “at least as early as 2008,…participated in a scheme of falsified loans pursuant to

which funds were diverted from BCSUL…and diverted by Felippe and Octavio for their

benefit…” Amended Complaint ¶9 (emphasis added). Paragraph 18 the Amended Complaint

alleges that Felippe and Octavio inflated valuations of various assets owned by the Debtor and

paid themselves dividends based on these inflated valuations.             According to the Amended



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Complaint, Felippe and Octavio used these diverted funds and inflated dividends to purchase the

Apartments and Art that are the subjects of this action. Amended Complaint ¶¶19, 31, 381.

              The counts alleging constructive trust/equitable lien, the counts alleging violation of

the New York Fraudulent Transfer Statutes and Article 130 of the Brazilian Bankruptcy Law

request the Court to avoid the transfer of the Apartments and the Art to the Defendants2.

              The counts alleging that the corporate Defendants somehow aided and abetted their

principals, Felippe and Octavio, to commit fraud, conversion and breach of fiduciary duty,

request damages as do the claims based on Law No. 8.078/1990 of the Brazilian Consumer

Protection Code and the counts alleging violation of Articles 186 and 884 of the Brazilian Civil

Code.

                                   III.     LEGAL ARGUMENT

              A.    As a Chapter 15 Trustee Plaintiff Cannot Seek Avoidance Remedies and
                    Lacks Standing to Maintain this Action

              As a Chapter 15 foreign trustee, the Plaintiff lacks the ability to bring avoidance

actions under §§544 and 548 of the Bankruptcy Code, and thus, this Court lacks subject matter

jurisdiction over such claims requesting that remedy. Those claims asserted by Plaintiff in the

Amended Complaint, whether for constructive trust/equitable lien, or based in New York

statutory law, request that the Court, (i) set aside or disregard the transfers of the Apartments

and Art; (ii) restrain further transfer of the Apartments and Art; or (iii) attach or levy or appoint

a receiver over the Apartments and Art.

              Chapter 15 of the Bankruptcy Code, 11 USC §§1501 et seq. provides for the

recognition of a foreign bankruptcy proceeding and allows the foreign trustee to commence an

1
  The Amended Complaint alleges that the Penthouse 2 was purchased with diverted funds in 2008 and transferred
to Alinia in May 2011; while the 6B apartment was purchased by 110 CPS with diverted funds in June 2010.
2
  There are three counts that request the imposition of a constructive trust or equitable lien in favor of the foreign
trustee (one of each of the two apartments and one for the Art). These remedies are the equivalent of avoidance.

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ancillary proceeding in United States Bankruptcy Courts. Once the foreign bankruptcy has been

“recognized” by the U.S. court under §1517, the foreign trustee is entitled to “appropriate relief”

under §1521(a), including: (1) staying actions against the debtor; (2) “staying execution against

the debtor’s assets…”; (3) “suspending the right to transfer, encumber or otherwise dispose of

any assets of the debtor…”; (4) “providing for examination of witnesses…” and other

discovery; (5) entrusting the administration of the debtor’s assets within the United States to the

foreign trustee; and (6) “extending the relief granted under section 1519(a)”. However, the

powers of the foreign trustee are limited and the foreign trustee cannot bring avoidance actions.

Specifically, §1521(a)(7) states: “granting any additional relief that may be available to a

trustee, except for relief available under sections 522, 544, 545, 548, 550 and 724(a)”

(emphasis added).

              The claims for constructive trust/equitable lien and those alleging the New York

fraudulent conveyance statutes, seek avoidance under §544 or §548. Case law holds that

fraudulent transfer and avoidance claims brought by a trustee under state law are necessarily

brought under 11 U.S.C. § 544. See, e.g. Berman v. Smith, 510 B.R. 387, 392-93 (S.D. Fla.

2014) (claims brought under Florida’s fraudulent transfer statutes are brought under 11 U.S.C. §

544); In re Bankest Capital Corp., 374 B.R. 333, 337-38 (Bankr. S.D. Fla. 2007) (same); In re

Old Naples Securities, Inc., 343 B.R. 310, 319 (Bankr. M.D. Fla. 2006).

              New York bankruptcy courts have reached the same conclusion, finding that a

trustee’s claims under the New York Fraudulent Conveyance Statutes are brought pursuant to

11. U.S.C. § 544. See, In re Trinsum Group, Inc., 460 B.R. 379, 389-94 (Bankr. S.D.N.Y.

2011); In re White Metal Rollin and Stamping Corp., 222 B.R. 417, 429 (Bankr. S.D.N.Y.

1998); In re Dreier LLP, 462 B.R. 474, 485 n.8 and 488



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              Plaintiff cannot evade the bar of §1521(a)(7) by asserting claims for equitable lien or

constructive trust. In Matter of Fidelity Electronics Ltd., Inc., 52 B.R. 475, 478 (Bankr. S.D.

Fla. 1985), the court made it clear that a trustee’s power to seek a constructive trust arises under

§544, stating: “11 U.S.C. §544 gives the Trustee at the commencement of the bankrupt's case,

the status of a hypothetical lien creditor. The Trustee's powers, however, in accordance with

§544(a) are those which the state law will allow to an alleged creditor of the Debtor who at the

date of the petition has completed the legal or equitable processes necessary for perfection of a

lien upon all property available for the satisfaction of his claim against the Debtor.” Id at 478.

See also, In re South Florida Title, Inc., 104 B.R. 489, 490-91 (Bankr. S.D. Fla. 1989) (Florida

law governed imposition of equitable lien on homestead property under §544); In re Janis, 60

B.R. 349, 351 (Bankr. S.D. Fla. 1986) (New Hampshire substantive law applied to constructive

trust sought by Trustee under § 544(b)).

              B.   The Plaintiff Has Failed to Allege that it is Authorized to Bring This Action

              The Plaintiff is a Brazilian trustee, appointed by the Brazilian Bankruptcy Court.

Pursuant to Brazilian bankruptcy law and procedure, a Brazilian trustee must be authorized by

the court in Brazil before incurring significant expenses such as retaining Miami counsel and

embarking on complex litigation in the United States. The Plaintiff has not alleged that it has

received leave from the Brazilian Court to engage counsel here, commence the bankruptcy or

file this action and probably cannot make this allegation. Indeed, this is the subject of questions

posed to the bankruptcy court in Brazil by the Sao Paulo Public Prosecutor who has the duty of

supervising the activities of the Trustee.           An English translation of the portion of the

Prosecutor’s report questioning the Trustee’s authority to retain Florida counsel and file the

instant proceedings is attached hereto as Exhibit 1.



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              Additionally, according to the Declaration of Rafael Barud Casqueira Pimenta, a

Brazilian attorney, familiar with the proceedings in Brazil, the docket of the Brazilian main

bankruptcy case contains neither a request for leave to hire U.S. counsel and file this action, nor

any permission to do so. (the “ Pimenta Declaration”). As a matter of Brazilian law, therefore,

Plaintiff lacks the authority to file the Amended Complaint, and consequently lacks the standing

to maintain this action. A copy of the Pimenta Declaration is attached hereto as Exhibit 2.

              The Plaintiff’s standing also depends on a finding by the Brazilian courts that property

owned directly or indirectly by the Debtor’s former administrators is subject to claims by the

Debtor’s estate. In his Foreign Representative’s Notice of Filing (Main Case ECF No. 15), the

Plaintiff gave notice that the assets of the former administrators of the Debtor were frozen.

Plaintiff stated:

                   under applicable Brazilian law, Federal Law no. 6.024 of 1974,
                   the personal assets of the administrators of financial institutions
                   are frozen when the Central Bank intervenes the financial
                   institution….the administrators of financial institutions under
                   intervention, extrajudicial liquidation or bankruptcy will have all
                   of their assets frozen, not been (sic) allowed to dispose of the
                   assets, in any form, directly or indirectly, pledge or offer as
                   guaranty until a final verification of their responsibilities
                   (emphasis added).3

              As a result, title to the Apartments and Art has been frozen and Defendants are

enjoined from conveying any ownership interest therein.

              The Freeze Order makes it clear that a Brazilian court of competent jurisdiction must

determine whether the assets of the former administrators of the Debtor are to be subjected to

claims of the Estate. Only after that determination is made can claims be brought to recover

such assets. The Plaintiff has failed to allege whether the Brazilian courts have completed the


3
  The Trustee has previously domesticated the Brazilian freeze order and it has been applied to the Apartments and
the Art. Since title to these assets is frozen there is a real question as to whether this litigation is necessary at all.

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process of determining the possible responsibilities of the former administrators of the Debtor

Bank so that their assets may be subject to the Trustee’s claims.4 Until this determination is

made, and the Brazilian court has authorized the Trustee to bring an action, the Plaintiff has no

claim and cannot pursue property that belongs, directly or indirectly to the former

administrators of the Debtor, including the property belonging to Defendants that is the subject

of the claims asserted in Plaintiff’s Complaint. Thus, Plaintiff lacks standing and consequently,

this Court lacks subject matter jurisdiction over the Plaintiff’s claims.

              C.   Various of Plaintiff’s Claims are Barred by the Applicable Statutes
                   of Limitation

              The Plaintiff’s claims asserted pursuant to Article 884 of the Brazilian Civil Code,

Law 8.078/1990 of the Brazilian Consumer Protection Code and Article 130 of the Brazilian

Bankruptcy and Judicial Reorganization Law, are all barred by their statutes of limitation. First,

the statute of limitation for claims under Article 884 is three years. The allegations of the

Amended Complaint make it clear that the conduct that forms the basis for these counts

occurred more than three years ago.

              Those counts asserting a claim for damages under Article 884 allege that the

Defendants were unjustly enriched to the detriment of BCSUL and its creditors by virtue of

Felippe’s and/or Octavio’s transfer or diversion of funds from BCSUL (which occurred as early

as 2008) to Felippe and by the purchase of the Apartments (purchased in 2008 and 2010) and

Art and the subsequent transfer of these properties to the Defendants. See, Complaint, Counts

XI, XXIII and XXXV. The Declaration of Flavio Antonio Esteves Galindo (the“ Galindo

Declaration”) which is attached hereto as Exhibit 3, attests to the statutes of limitation for



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  Indeed, it is undersigned counsel’s understanding that the criminal matter against the Debtor’s former
administrators is in its infancy and that there is likely not going to be any outcome for two to three years.

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Article 884, Article 130 and Law 8.078/1990. The applicable statutes of limitation and English

translations thereof are attached to the Galindo Declaration as exhibits thereto.

              Plaintiff’s Article 130 claim is also time barred.     Shortly after a bankruptcy is

commenced, a Brazilian bankruptcy court establishes the cut-off date for revocation claims

under Article 130. As the Galindo Declaration states at paragraph 6, “claims for transfers of

property whose statutes of limitation end before the claw back bar date may not be brought

under Article 130.” In this case, the Court set a cut-off date of June 16, 2012. An English

translation of the order is attached to the Galindo Declaration as an exhibit thereto. The

Amended Complaint alleges that the Apartments were bought in 2008 and 2010. These dates

are clearly before the cut-off date.

              The claims based on Law 8.078/1990 are also time barred. This statute has a claims

period of five years. Plaintiff has alleged that the Penthouse Apartment was acquired on July 9,

2008 and that title passed to Alinia on May 4, 2011. The initial Complaint was filed on July 8,

2016, more than five years after the transfer to Alinia and almost exactly eight years after the

Penthouse was acquired with the funds allegedly stolen from BCSUL. The 110 CPS Apartment

was allegedly purchased in 2010 by 110 CPS, Inc. Again, this is outside of the limitation

period, being almost six years before the initial Complaint was filed.

              To the extent that any of the Trustee’s claims are based on the exaggerated dividends

alleged at paragraph 18 of the Amended Complaint, these claims are also barred by Article 206

of the Brazilian Civil Code which has a statute of limitation of three years for claims “for

restitution of revenues or dividends received under deceit, with the time period counting from

the date the distribution was voted.” A translation of Article 206 is attached hereto as Exhibit

4.



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              D.     Article 186 and Law 8.078/1990 Do not Apply5

              The claims based on Article 186 of the Brazilian Civil Code and Law 8.078 of the

Brazilian Consumer Protection Code just do not apply to the facts alleged to support this action

and are not suitable for use against the Defendants.

              Law 8.078/1990, alleged as a basis for Counts IX, XXI and XXXIII, is a consumer

protection statute which is designed to provide a remedy to those who have purchased shoddy

goods or services. The “Consumer” is defined at Chapter 1, Article 2 of the law as: “…every

natural person or legal entity that acquires or uses a product or service as its end product.” The

counts allege that “a service provider is liable regardless of intention…for harm caused to a

consumer by defects relating to the rendition of services as well as for providing insufficient or

inadequate information about its use and risks.” Amended Complaint, ¶¶122, 224 and 324.

There is no allegation in the Amended Complaint that the Debtor’s banking services damaged

anyone. Instead, the Amended Complaint alleges: “Some of BCSUL’s depositors and creditors

are consumers pursuant to Brazil’s Consumer Protection Code…BCSUL provided financial

services to some of its depositors and creditors pursuant to Brazilian Consumer Code.’

Amended Complaint ¶¶126, 127, 228, 229, 328 and 329. These allegations miss the target and

do not show that the statute has been violated, since no harm caused by banking services has

been alleged. The allegations in the Amended Complaint just do not fit the vessel intended to

carry it into this Court. Therefore, the counts alleging Law 8.078/1990 should be dismissed

with prejudice.

              Additionally, Article 186 of the Brazilian Civil Code, asserted by the Plaintiff in

Counts VII, XV and XXIII states: “Those who by action or voluntary omission, negligence or

imprudence, violate a right and cause damage to another person or entity, even if exclusively

5
    These claims alleging Brazilian law should have been asserted if at all, in Brazil.

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moral, commits an unlawful act”. The Plaintiff tries to use this statute to seek damages. The

allegations supporting this claim contradict other allegations in the Amended Complaint. Here,

the acts alleged are the misappropriations of the Debtor’s funds by the Defendants. The

allegation that the Defendants violated the statute by “intentionally, recklessly or negligently

causing BCSUL to transfer” funds to Felippe or Octavio to purchase the Apartments and Art is

at odds with previous allegations where the Plaintiff alleged that Felippe and Octavio, the

former owners of the Debtor, “participated in a scheme of falsified loans pursuant to which

funds were diverted from BCSUL…and diverted by Felippe and Octavio for their benefit…”

Amended Complaint ¶9 (emphasis added). Having previously alleged that Felippe and Octavio

misappropriated the Debtor’s funds, the Plaintiff cannot for purposes of this count, allege that

the Defendants committed the misappropriation

              E.   Corporations Cannot Aid and Abet their Principals.

              The Plaintiff has added counts that allege aiding and abetting claims under New York

law. The Plaintiff has alleged that the corporate Defendants aided and abetted Felippe and

Octavio in breaching their fiduciary duties to the Debtor (Counts VI, XVIII and XXX); aided

and abetted Felippe and Octavio in converting the Debtor’s funds (Counts VII, XIX and XXXI);

and aided and abetted Felippe and Octavio in committing fraud (Counts VIII, XX and XXXII).

Under well-established law, these claims are not sustainable. A corporation cannot aid and abet

its principals in doing anything. A corporation acts through its principals. As the court held in

Oliner v. Mid-Town Promoters, Inc. 138 N.E.2d 217 (N.Y. 1956), a corporation unlike natural

persons, can do nothing except through the agency of others. Pursuant to this principle, a

corporation cannot conspire with its principals, Copperweld Corp. v. Independence Tube Corp.

467 U.S. 752 (1984). By the same reasoning, a corporation cannot aid and abet its principals in



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committing unlawful behavior. In Genger v. Genger, 135 A.2d 454, 455 (N.Y. App. 2016), the

court stated: “The aiding and abetting a breach of fiduciary duty cross claim was also properly

dismissed…appellant could not asset a claim that respondent aided and abetted any breach of

fiduciary duty committed by its own officer”. See also, Buttonwood Tree Value Partners, L.P. v

R.L.Polk & Co., 2014 WL 3954987 (Del. Ch. 2014). The aiding and abetting counts should all

be dismissed with prejudice.”

              F.   The Court Lacks Subject Matter Jurisdiction.

              The question of standing also presents the question of whether the Court has subject

matter jurisdiction to determine the dispute. Bochise v. Town of Ponce Inlet, 405 F.3d 964, 974

(11th Cir. 2005). Article III, Section 2 of the United States Constitution limits the jurisdiction

of the Federal Courts to actual cases and controversies. Flast v. Cohen, 392 U.S. 83, 94-101, 88

S. Ct. 1942 (1968). In determining standing, a Federal Court must carefully examine the

allegations of the complaint to determine whether the plaintiff is entitled to adjudication of the

claims that it has alleged. Allen v. Wright, 468 U.S. 737,750, 104 S. Ct. 3315 (1984). In order

to demonstrate standing, a plaintiff must plead injury in fact, causation and redressability.

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61, 112 S. Ct. 2130 (1992). Here, the

Plaintiff clearly lacks standing to bring the New York fraudulent transfer counts and the

constructive trust/equitable lien claims since a foreign trustee cannot assert avoidance claims

under 15 U.S.C. §1521(a)(7).

              Plaintiff’s standing to bring all of the counts he has alleged is dependent on obtaining

the authorization from the bankruptcy court in Brazil to retain U.S. counsel and bring this

action. As noted above, the Trustee has not alleged that it has this authority. The docket of the

Brazilian Bankruptcy Court has no record of it, and indeed, the Public Prosecutor has raised this



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very question before the Brazilian Bankruptcy Court. If the Trustee has not received authority

to proceed it lacks standing.

              The Trustee must also show that the Brazilian courts have completed the process of

determining whether the former administrators of the Debtor have any personal responsibility

for the Debtor’s losses before their assets whether owned directly or indirectly may be subject

to the Trustee’s claims. Until this occurs, the Trustee lacks the standing to pursue any of the

claims alleged in the Amended Complaint.

              WHEREFORE, Defendants request the Court to dismiss Plaintiff’s Complaint and

for such other and further relief as the Court deems just and proper.

                                               Respectfully submitted,

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                                               Counsel for the Defendants
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                                               By: /s/ Jeremy J. Hart
                                                      Brett M. Amron, Esq. (FBN 0148342)
                                                      Jeremy J. Hart, Esq. (FBN 510645)
                                                      Jeremy S. Korch, Esq. (FBN 0014471)




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                                 CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a true and correct copy of the foregoing was served

electronically via CM/ECF, Email, and/or via U.S. Mail, as indicated on the attached service list

on this 26th day of October, 2016.

                                             By:    /s/ Jeremy J. Hart
                                                      Jeremy J. Hart

                                SERVICE LIST

VIA CM/ECF:

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                                       Exhibit 1


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PUBLIC PROSECUTION OFFICE- STATE OF SÃO PAULO




   Online case number 1071548‐40.2015.8.26.0100
   2nd Bankruptcy and Judicial Recovery Court of the Central
   District of São Paulo.
   Bankruptcy Suit.
   Bankrupt: Bankrupt Estate of Banco Cruzeiro do Sul S/A.


            Your Honor,



                          1.   Pages 8.395/8.438, most recent
   interpretation from the government ministry.

                          2.   Pages 8.439/8.440, Court‐Appointed
   Trustee submits an appraisal report on bankrupt estate real
   properties seized in the city of Rio de Janeiro, amounting to R$
   130,470.00, and requests appraisal approval and disposal of
   the real property by means of an online auction.
   Acknowledged and Agreed.


                          3. Pages 8.449/8.451, debt claim from

   Rogério Soares Cabral. Ruled untimely, per order on pages
   8.456/8.457. Acknowledged.
                          4. Pages 8.459/8.461, debt claim from

   Marli Brandão Lopes. Order on pages 8.906/8.910 determines
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                         85. Page 10.645/10.646, credit claim

   from Abel Leite De Souza. Acknowledged.


                         86. Pages 10.668/10.672, the Bankrupt

   parties state that the Court‐Appointed Trustee without leave
   from this Court, without a competitive bidding and lacking any
   grounds has hired an American attorney to act in the USA
   against two companies they control abroad, with the purpose
   of freezing the real estate properties in the USA and several
   works of art inside such properties, despite the fact that none
   of these assets is included in the bankrupt estate, and worse,
   some of these assets are already frozen by the Brazilian Justice
   Department. Hence, the Public Prosecutor requests the Court‐
   Appointed Trustee to be summoned to provide clarification to
   certain questions, in order to find out if the Court‐Appointed
   Trustee crossed the boundaries of its duties, unilaterally
   disposing of assets of the bankrupt estate without due court
   authorization and, in the event this proves to be true, an
   investigation of the respective liability, so that Court‐
   Appointed Trustee will be required to reimburse the bankrupt
   estate for the undue costs incurred.
                             Waiting for statement in advance
   from the Court‐Appointed Trustee.
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PUBLIC PROSECUTION OFFICE- STATE OF SÃO PAULO



                        87. Page 10.708/10.709, credit claim

   from Dorival Domingos. Acknowledged.
                        88. Pages 10.725/10.726, the          Court‐
   Appointed Trustee reiterates the Petition on pages 2.918‐
   2.920 and requests authorization for extinction and seizure of
   TAMISA FUNDO DE INVESTIMENTO MULTIMERCADO.


                            Requests granting.




    São Paulo, September 20, 2016.




    Eronides Aparecido Rodrigues dos Santos
    Prosecutor



    Daniela Carvalho Guimarães
    Public Prosecution Office Analyst
            Case 16-01315-LMI           Doc 29      Filed 10/26/16      Page 19 of 39            p.36

   PUBLIC PROSECUTION OFFICE- STATE OF SÃO PAULO




      [Note on the right margin] This document was filed on September 9, 2016 at 7:02 pm, and
is a copy of the original bearing the digital signature of ERONIDES APARECIDO RODRIGUES DOS
SANTOS. To check the original, please access: https://esaj.tjsp.jus.br/esaj, enter case number
1071548‐40.2015.8.26.0100 and code 25E5B24.
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                                       Exhibit 2


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                Case 16-01315-LMI               Doc 29         Filed 10/26/16            Page 24 of 39
                                    RAFAEL BARUD CASQUEIRA PIMENTA
                            Av. Rio Branco, 138, 11º andar, Centro, Rio de Janeiro, RJ, 20040-002
                             rpimenta@gcm.adv.br • +55 21 3195-0240 • +55 21 9 8112-7303

EDUCATION
Università degli Studi di Firenze (UNIFI)                                                                  Florence, Italy
Visiting researcher from July to December 2009
Recommended by UERJ to participate as a researcher
as part of the interchange program between UERJ and UNIFI.
Rio de Janeiro State University (UERJ)
Master’s in Procedural Law (pending defense of dissertation)                                        Rio de Janeiro, Brazil
Honors: Approved in first place among eight spots.
         Scholarship granted by UERJ.
Activities: Assistant professor in the class on Civil Procedure Law; professor of
            the elective subject Reforms of the Brazilian Civil Procedure Code.
Fundação Getulio Vargas                                                                             Rio de Janeiro, Brazil
Specialization in Contract Law, March to July 2007
Rio de Janeiro State University Law School                                                          Rio de Janeiro, Brazil
Bachelor of Law, July 2006
PROFESSIONAL EXPERIENCE
Galdino, Coelho, Mendes Advogados                                                       Rio de Janeiro, Brazil
Partner                                                                            September 2013 – Present
Leading role in complex corporate and contractual litigation in cases heard by the state appellate courts of Rio
de Janeiro, São Paulo, Goiás and Mato Grosso as well as the Superior Tribunal of Justice, advising Banks,
Financial Institutions, relevant Mining and Oil Companies, among others; co-head counsel in huge Bankruptcy
and Judicial Recovery proceedings, advising both debtors and creditors; and in arbitrations conducted by the
London Court of International Arbitration (LCIA), Brazil-Canada Chamber of Commerce (CCBC), International
Chamber of Commerce (ICC), Arbitration Chamber of BM&F Bovespa (CAM), and the Arbitration Chamber of
CIESP/FIESP. Assistance to clients before the Brazilian Securities Commission (CVM).

Brasil | Pereira Neto | Galdino | Macedo Advogados                        Rio de Janeiro and São Paulo, Brazil
Associate Lawyer                                                             February 2010 – September 2013
Assistance to foreign and Brazilian clients. Planning and coordination of the program of the Claims Management
Department da ThyssenKrupp CSA (RJ). Participation in complex corporate and contractual litigation in cases
heard by the state appellate courts of Rio de Janeiro, São Paulo and Mato Grosso as well as the Superior Tribunal
of Justice and arbitrations. Advice to clients in mediation involving large construction projects. Conduction of
legal due diligence processes and drafting of contracts for M&A transactions.
Mundie e Advogados                                                                  Rio de Janeiro, Brazil
Associate Lawyer                                                             August 2006 – January 2010
Assistance to foreign and Brazilian clients. Planning and coordination of specific projects in the area of
consumer law. Representation of clients in several State and Federal Courts.
-                                                                                  Rio de Janeiro, Brazil
Internships                                                                         July 2002 – July 2006
Miguel Lins Advogados Associados (July 2002 – November 2003) | Varella, Borgerth, Riet Corrêa e Advogados
Associados (November 2003 – May 2004) | Mundie e Advogados (May 2004 – July 2006).

LANGUAGES
Portuguese (native); English (fluent); Italian (advanced).
PROFESSIONAL MEMBERSHIPS
Brazilian Bar Association, Rio de Janeiro and Mato Grosso State Chapters; Brazil-Italy Chamber of Commerce

                                                     October 2016
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                                       Exhibit 3


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        Case 16-01315-LMI         Doc 29      Filed 10/26/16       Page 29 of 39
                         FLAVIO ANTONIO ESTEVES GALDINO
                      Av. Rio Branco, 138, 11th Floor – 20040-002
                    Contact: +55 21 3195-0240; + 55 21 981334043
                              E-mail: galdino@gcm.adv.br
                               Born: December 7th, 1971


ACADEMIC EXPERIENCE:

      Juris Doctor, JD. State University of Rio de Janeiro. 1997

      Master of Laws. State University of Rio de Janeiro. 2002

      PhD. State University of Rio de Janeiro. 2008

      Part-time Professor of Civil Procedure at the State University of Rio de Janeiro
      since 2001

      Part-time Professor of Civil Procedure at the Superior School of Magistrates of the
      State of Rio de Janeiro since 2001

      Part-time Professor of Civil Procedure at the University of Vila Velha from 1999
      until 2001

      Part-time Professor of Civil Procedure at Candido Mendes University from 1999
      until 2001


PROFESSIONAL EXPERIENCE:

      1997 – 2007: Partner at Paulo Cézar Pinheiro Carneiro Advogados

      2007 – 2012: Partner at Brasil, Pereira Neto, Galdino, Carneiro Advogados

      2012 – 2013: Partner at Xavier Bragança Advogados

      2013 – 2016: Partner at Galdino, Coelho, Mendes Advogados

LANGUAGES:
      Portuguese (native), English (fluent), Spanish (fluent), German (intermediary) and
      Italian (intermediary).
PUBLICATIONS:


      GALDINO, F. A. E.. Introdução à análise econômica do processo civil (I) – os métodos
      alternativos de solução de controvérsias. Quaestio Iuris, Rio de Janeiro, n.1, p. 171-
      204, 2005.

      GALDINO, F. A. E.. Juizados epeciais federais. Cepad, Rio de Janeiro, 2004.

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  Case 16-01315-LMI         Doc 29     Filed 10/26/16      Page 30 of 39
                   FLAVIO ANTONIO ESTEVES GALDINO
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                        E-mail: galdino@gcm.adv.br
                         Born: December 7th, 1971

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2004.

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experi6encia jurídica. Revista Synthesis Revista do Centro de Ciências Sociais da
Uerj, Rio de Janeiro, 2001.

GALDINO, F. A. E.. Sobre o art. 526 do CPC - Da necessidade de uma súmula
uniformizadora. Revista Forense, 1999.

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da Ordem dos Advogados do Brasil. Revista da Faculdade de Direito da Uerj, Rio de
Janeiro, v. 5, 1999.

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GALDINO, F. A. E.. O acesso à justiça e a crise do ensino jurídico no Brasil. Revista
Forense, Rio de Janeiro, n.jan-mar, p. 441-449, 1996.

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Ricardo Lobo Torres. Rio de Janeiro: Renovar, 2006.

GALDINO, F. A. E.. Introdução à Teoria dos Custos dos Direitos: Direitos Não Nascem
em Árvores. Rio de Janeiro: Lumen Juris, 2005.

GALDINO, F. A. E.. Legitimação dos Direitos Humanos (co-autor). Rio de Janeiro:
Renovar, 2002.

GALDINO, F. A. E.. A Ordem dos Advogados do Brasil na reforma do ensino jurídico.
In: Comissão de Ensino Jurídico da OAB. (Org.). Ensino Jurídico - OAB - 170 anos de
cursos jurídicos no Brasil. Brasília: OAB, 1997, v. , p. -.
               Case 16-01315-LMI               Doc 29          Filed 10/26/16              Page 31 of 39         p.151
                                 TRIBUNAL DE JUSTIÇA DO ESTADO DE SÃO PAULO
                                   COMARCA de SÃO PAULO FORO CENTRAL CÍVEL
                                 2ª VARA DE FALÊNCIAS E RECUPERAÇÕES JUDICIAIS
                                          Praça João Mendes s/nº, Salas 1618/1624 - Centro
                                                     CEP: 01501-900 - São Paulo /SP
                                        Telefone: (11) 2171-6506 - E-mail: sp2falencias@tjsp.jus.br


                                        COURT DECISION

Case number:                                       1071548-40.2015.8.26.0100
Class - Subj                                       Bankruptcy of Businessmen, Business Corporations, Micro
                                                   Companies and Small Companies – Self-Reported
                                                   Bankruptcy
Claimant:                                          Banco Cruzeiro do Sul S/A e outros
Respondent:                                        Banco Cruzeiro do Sul S/A e outros



Honorable Judge: Dr. Marcelo Barbosa Sacramone


Acknowledgements.


                   BANCO CRUZEIRO DO SUL S/A, CNPJ (Register of legal entities) 62.136.254/0001-
99, CRUZEIRO DO SUL HOLDING FINANCEIRA S.A., CNPJ 13.225.116/0001-70, CRUZEIRO DO
SUL S.A. CORRETORA DE VALORES E MERCADORIAS, CNPJ 04.169.504/0001-90, CRUZEIRO
DO SUL S.A. DISTRIBUIDORA DE ÍTULOS E VALORES MOBILIÁRIOS, CNPJ 62.382.908/0001-
64 and CRUZEIRO            DO    SUL       S.A.     COMPANHIA               SECURITIZADORA            DE   CRÉDITOS
FINANCEIROS,         CNPJ     06.227.606/0001-40, all subject to “extrajudicial liquidation", under Acts of the
President of BRAZIL CENTRAL BANK numbered 1.230 to 1235, dated September 14, 2012 (pages 29/30),
represented by the liquidator Eduardo Félix Bianchini, appointed as substitute under Act 486, dated May 24,
2013 (page 31), are applying for self-reported bankruptcy, pursuant to provisions of article 21, item 'b' of
Law 6.024/74. Claimants state that the economic group subject to extrajudicial liquidations lacks enough
assets to pay for at least half of their unsecured liabilities, as well that there are indications of bankruptcy
crimes. They claim further that the complexity of the businesses they are engaged in justifies follow-up by the
Justice Department in a regular bankruptcy procedure, and they were, therefore, authorized by the CENTRAL
BANK to apply for bankruptcy. They state further that the unsecured liabilities assessed by the group
(consolidated position) reveals R$3,288 million shortfall.
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                                  TRIBUNAL DE JUSTIÇA DO ESTADO DE SÃO PAULO
                                    COMARCA de SÃO PAULO FORO CENTRAL CÍVEL
                                  2ª VARA DE FALÊNCIAS E RECUPERAÇÕES JUDICIAIS
                                           Praça João Mendes s/nº, Salas 1618/1624 - Centro
                                                      CEP: 01501-900 - São Paulo /SP
                                         Telefone: (11) 2171-6506 - E-mail: sp2falencias@tjsp.jus.br



                    The initial petition was submitted attached the documents on pages 29/126.

                    The Public Prosecution Office has issued comments on pages 138/144, stating to
be favorable to the application for bankruptcy.


This is the report. I RESOLVE.
                    The grounds justifying the decree of bankruptcy of the financial institution and legal
entities of the economic group do exist and have been evidenced.
                    On September 14, 2012, the extrajudicial liquidation of the applicant was decreed by
order of the President of the Brazilian Central Bank.
                    Additionally, on pages 33/36 we have the authorization from Brazil Central Bank
enabling applicant to file for bankruptcy.
                    The facts reported by the liquidators and by Brazil Central Bank on page 34 reveal
indications of bankruptcy crimes and they have thus authorized the application for a decree of bankruptcy.
Having thus met the requirement of item 'b', second part of art. 21 of Law 6.024/1974.
                    Moreover, as evidenced in the balance sheets attached to the records and to the report on
page 35, the parties in liquidation find themselves in condition of insolvency. Note should be taken then
that debtor insolvency (“inability to pay”) is not a requirement for a decree of bankruptcy, sufficing for
debtor to present itself as insolvent (“mere default qualified by lack of lawful grounds”)1.
                    All the legal entities object of the application for bankruptcy ultimately had a common
management, being part of the same economic group. Hence, even if Cruzeiro do Sul S.A. Corretora de
Valores and Mercadorias and Cruzeiro do Sul Companhia Securitizadora de Créditos Financeiros own assets
whose worth is higher than the amount of the liabilities, extension of bankruptcy effects would apply.
                    Also, undoubtedly, the complexity of the businesses involved in the activities of the
financial institution and economic group companies justify the need for close court follow-up by means of
the bankruptcy procedures.
                    Thus, from any angle that the issue may be analyzed the need for a decree of bankruptcy
of the financial institution can be clearly evidenced.
This is why, today, at 7 pm, I am decreeing the bankruptcy of:

    1   BANCO CRUZEIRO DO SUL S/A, CNPJ 62.136.254/0001-99;
    2   CRUZEIRO DO    SUL HOLDING         FINANCEIRA S.A., CNPJ 13.225.116/0001-70;
    3   CRUZEIRO DO    SUL S.A. CORRETORA                DE VALORES E
                           MERCADORIAS, CNPJ 04.169.504/0001-90;
    4 CRUZEIRO DO SUL S.A. DISTRIBUIDORA DE TÍTULOS E VALORES MOBILIÁRIOS, CNPJ
62.382.908/0001-64;

                1
                  Fábio Konder Comparato apud Relator Lino Machado, E. TJSP, Câmara Reservada à Falência e Recuperação,
        Agravo de Instrumento n. 9046401-60.2007.8.26.0000, judged on 05/05/2014
                Case 16-01315-LMI                Doc 29          Filed 10/26/16              Page 33 of 39        p.153
                                   TRIBUNAL DE JUSTIÇA DO ESTADO DE SÃO PAULO
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                                            Praça João Mendes s/nº, Salas 1618/1624 - Centro
                                                       CEP: 01501-900 - São Paulo /SP
                                          Telefone: (11) 2171-6506 - E-mail: sp2falencias@tjsp.jus.br
   5 CRUZEIRO DO         SUL S.A.                       COMPANHIA SECURITIZADORA DE CRÉDITOS
FINANCEIROS, CNPJ 06.227.606/0001-40.
Now, therefore:
                    1)    I hereby appoint to act as court appointed receiver (art. 99, IX) the company
ADJUD ADMINISTRADORES JUDICIAIS LTDA. - EPP, CNPJ 14.227.154/0001-25, domiciled at Rua
Araújo, 70, conj. 121, 12º andar, República, São Paulo - SP, CEP 04421-000 represented by VÂNIO
CESAR PICKLER AGUIAR.
For the purposes of provisions of article art. 22, III, he shall:
                    1.1) be personally served notice to sign the statement of commitment within a term of
forty-eight (48) hours, under penalty of replacement (arts. 33 and 34);

                    1.2) seize the assets and documents (art. 110), as well as see to assets appraisal, either
separately or in block, at the site where such assets are currently located (arts. 108 and 110), for assets
assessment (arts. 139 and 140) and such assets shall be kept in “his custody for safekeeping for which he
shall be liable” (art. 108, sole paragraph), being allowed to see to sealing for the purposes of article art. 109
and being also required to report to the court on the viability of the continuity of company operations (art.
99, XI);

                    1.3) at the time of the submission of the report required by provisions of art. 22, III, 'e' of
Law 11.101/05, the Court Appointed Receiver shall file it on line as incidental to the bankruptcy;
likewise, any comments about it shall be filed in relation to the above mentioned supplementary issue.
                    2)    I hereby establish the legal term (art. 99, II), at ninety (90) days before the of the
decree of extrajudicial liquidation.
                    3)    The Court-Appointed Receiver shall inform if the nominal list of creditors, with
address, relevance, nature and classification of the respective credits is attached to the records, enabling
issue the Public Notice with the list of creditors, and shall also take any other steps that may be critical to the
progress of the bankruptcy procedures.

                    3.1) The Members of the Board of Directors and the Executive Officers of the bankrupt
companies shall comply with provisions of article 104 of the LRF (Fiscal Responsibility Law), by appearing
at a Notary Public office within a term of ten (10) days in order to sign the acknowledgement of presence
and to provide clarification, which at that time, shall be submitted in writing, including the corporate
memorandums of association or corporate by-laws and proof of filing of such documents, as well
as of their amendments. Subsequently, if the need arises, a hearing shall be scheduled for the
bankrupt parties to provide clarification in person, and for this purpose, the Court- Appointed
Receiver and the Public Prosecution Office shall also be summoned. Those were the members of
the Board of Directors of the bankrupt companies:
                    BANCO CRUZEIRO DO SUL S/A: Luis Felippe Índio da Costa (CPF (Ministry of
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                                 TRIBUNAL DE JUSTIÇA DO ESTADO DE SÃO PAULO
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                                                     CEP: 01501-900 - São Paulo /SP
                                        Telefone: (11) 2171-6506 - E-mail: sp2falencias@tjsp.jus.br
Finance register of taxpayers) 006.034.067-34), Luis Octavio Azeredo Lopes Índio da Costa (CPF
782.474.977-00), Fabio Caramuru Correa Meyer (CPF 715.168.917-91), Maria Luísa Garcia de Mendonça
(CPF 380.376.616-87), Roberto Vieira da Silva de Oliveira Costa (CPF 769.344.037-20), Sérgio Marra
Pereira Capella (CPF 041.247.618-56).
                   CRUZEIRO DO SUL HOLDING FINANCEIRA S.A.:Luis Felippe Índio da Costa
(CPF 006.034.067-34), Luis Octavio Azeredo Lopes Índio da Costa (CPF 782.474.977-00), Charles
Alexander Forbes (CPF 001.906.918-91), Fabio Rocha do Amaral (CPF 076.593.208-31), Flávio Nunes
Ferreira Rietmann (CPF 913.629.627-91), Horácio Martinho Lima (CPF 745.862.547-34).
                   CRUZEIRO DO SUL                    S.A.         CORRETORA                   DE     VALORES   E
MERCADORIAS: Luis Fernando Pinheiro Guimarães de Carvalho (CPF 949.762.797-15) e Marcelo
Xandó Baptista (CPF 180.434.018-96).
                   CRUZEIRO DO SUL S.A. DISTRIBUIDORA DE TÍTULOS E VALORES
MOBILIÁRIOS: Flávio Nunes Ferreira Rietmann (CPF 913.629.627-91) e Marcelo Xandó Baptista (CPF
180.434.018-96).
                   CRUZEIRO DO SUL S.A. COMPANHIA SECURITIZADORA DE CRÉDITOS
FINANCEIROS: Luis Felippe Índio da Costa (CPF 006.034.067-34), Luis Octavio Azeredo Lopes Índio da
Costa (CPF 82.474.977-00).
                   3.2) The partners and managers are also advised that in order to safeguard the best
interest of the involved parties and if the indications of the crime referred to by Law 11.101/2005 are
evidenced they may be subject to an order for preventive detention (art. 99, VII).
                   3.3) Both the bankrupt parties and the Court-Appointed Receiver shall, within a term of
ten days, submit the reports on the cash flows, accounting books and accounting documents mandatory by
law, as well as the list of assets and rights the assets are composed of, with the corresponding value
estimation and ownership evidencing documents.
                   4)    I hereby establish a term of fifteen (15) days, to be counted as of the publication of
the public notice, for the creditors to submit to the Court-Appointed Receiver their “qualifications or their
objections to the list of credits” (art. 99, IV, e art. 7º § 1º), which shall be digitized and sent directly
to the Court-Appointed Receiver by e-mail and this shall be reported by him in a file
specifically created for this purpose and included in the public notice that will be published.
                   On this subject Court-Appointed Receiver, within a term of five (5) days, shall send
an email specifically created for this purpose and which shall be included in public notice that will de
issued pursuant to art. 99, sole paragraph.
                   5)    At the time of the publication of the public notice referred to in art. 2 of Law
11.101/05, possible challenges to said official notice and/or late applications for qualification shall not be
attached to case main records, and the subsequent petitions related to the same incident shall always be
directed to an already initiated supplementary issue.
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                                            Praça João Mendes s/nº, Salas 1618/1624 - Centro
                                                       CEP: 01501-900 - São Paulo /SP
                                          Telefone: (11) 2171-6506 - E-mail: sp2falencias@tjsp.jus.br
                     6)     Pursuant to provisions of art. 99, V, I hereby order suspension of all proceedings
and enforcement suits against filed against the bankrupt parties (companies), but always taking into
consideration the assumptions referred to in paragraphs 1 and 2 of art. 6 of the same Law, and the statute of
limitations shall also be suspended.
                     7)     I hereby forbid any action to divest or encumber the bankrupt parties (companies)
assets without court consent besides consent from the Committee of Creditors (if any), exception made of
the asset whose sale is part of debtor normal activities “if activities are provisionally authorized to continue”
(art. 99, VI).
                     8)     I hereby order prompt issue of official letters (art. 99, X and XIII) to public
agencies and offices (Federal Administration, State and Municipal agencies; Central Bank, DETRAN, etc.),
with on line communication authorized, such official letter shall be sent to JUCESP for the purposes of
articles 99, VIII and 102.
                     9)     In view of the agreements that have been executed, I hereby order to keep open the
bank accounts listed on pages 132 e 133, open solely for the purposes of deposits. Notices shall be sent to
the banking institutions.
                     10) Official notice shall be issued, pursuant to provisions of art. 99, sole paragraph of
Law 11.101/2005.


                 Notice shall be sent to Public Prosecution Office. P.R.I.C. (To be Published, Recorded and
Enforced)
                 São Paulo, August 12, 2015.




 DOCUMENT BEARING DIGITAL SIGNATURE PURSUANT TO LAW 11.419/2006, as follows:
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Art. 3°, Lei 8.078/1990 (Código de Defesa do Consumidor) – Fornecedor é toda
pessoa física ou jurídica, pública ou privada, nacional ou estrangeira, bem como os
entes despersonalizados, que desenvolvem atividade de produção, montagem,
criação, construção, transformação, importação, exportação, distribuição ou
comercialização de produtos ou prestação de serviços.

English translation: Art. 3, Law 8.078/1990 (Consumer Protection Code) – A
provider is every person or entity, public or private, domestic or foreign as well as
de facto entities that develop production activities, assembly, creation, construction,
transformation, importation, exportation, distribution or commercialization of
products or provides service.

                                         ***

Art. 6º, Lei 8.078/1990 (Código de Defesa do Consumidor) – São direitos básicos do
consumidor:

VI ‐ a efetiva prevenção e reparação de danos patrimoniais e morais, individuais,
coletivos e difusos;

English translation: Art. 6, Law 8.078/1990 (Consumer Protection Code) – These are
the basic rights of the consumer:

VI – the effective prevention and compensation of financial and moral damages,
individual, collective and diffuse;


                                         ***

Art. 14, Lei 8.078/1990 (Código de Defesa do Consumidor) – O fornecedor de
serviços responde, independentemente da existência de culpa, pela reparação dos
danos causados aos consumidores por defeitos relativos à prestação dos serviços,
bem como por informações insuficientes ou inadequadas sobre sua fruição e riscos.

English translation: Art. 14, Law 8.078/1990 (Consumer Protection Code) – The
provider of services is responsible, regardless of guilt, for the damages caused to the
consumers stemming from faults related to the services, as well as for insufficient
or inadequate information about the risks and benefits.

                                         ***

Art. 28, Lei 8.078/1990 (Código de Defesa do Consumidor) – O juiz poderá
desconsiderar a personalidade jurídica da sociedade quando, em detrimento do
consumidor, houver abuso de direito, excesso de poder, infração da lei, fato ou ato
ilícito ou violação dos estatutos ou contrato social. A desconsideração também será
efetivada quando houver falência, estado de insolvência, encerramento ou
inatividade da pessoa jurídica provocados por má administração.

§ 1° (Vetado).

§ 2° As sociedades integrantes dos grupos societários e as sociedades controladas,
são subsidiariamente responsáveis pelas obrigações decorrentes deste código.
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§ 3° As sociedades consorciadas são solidariamente responsáveis pelas obrigações
decorrentes deste código.

§ 4° As sociedades coligadas só responderão por culpa.

§ 5° Também poderá ser desconsiderada a pessoa jurídica sempre que sua
personalidade for, de alguma forma, obstáculo ao ressarcimento de prejuízos
causados aos consumidores.

English translation: Art. 28, Law 8.078/1990 (Consumer Protection Code) – The
judge may pierce the corporate veil when, to the detriment of the consumer, there
is abuse of right, excess of power, violation of the law, illegal fact or act or violations
of the bylaws. The piercing shall also take place when a bankruptcy takes place,
insolvency, closing or inactivity provoked by flawed administration.

1st § Vetoed.

2nd § The entities that belong to corporate groups and the ones under control are
subsidiary responsible for the obligations that stem from this code.

3rd § The consociated entities are equally responsible for the obligations that stem
from this code.

4th § The linked entities are only responsible if guilty.

5th The piercing may also take place whenever an entity represents an obstacle to
the compensation of consumers’ damages.

                                           ***


Art. 27, Lei 8.078/1990 (Código de Defesa do Consumidor) – Prescreve em cinco
anos a pretensão à reparação pelos danos causados por fato do produto ou do
serviço prevista na Seção II deste Capítulo, iniciando‐se a contagem do prazo a
partir do conhecimento do dano e de sua autoria.

English translation: Art. 27, Law 8.078/1990 (Consumer Protection Code) – The
statute of limitation for claims of damages caused by facts of the products or
services established in section II of this Chapter is five years, counted from the
knowledge of the damage and its causer.
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                                       Exhibit 4


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Art. 206, Código Civil – Prescreve:

§ 3o Em três anos:

IV ‐ a pretensão de ressarcimento de enriquecimento sem causa;

V ‐ a pretensão de reparação civil;

VI ‐ a pretensão de restituição dos lucros ou dividendos recebidos de má‐fé,
correndo o prazo da data em que foi deliberada a distribuição;


English translation: Art. 206, Civil Code – Statue of Limitations:

3rd § Within three years:

IV – the claim for compensation for causeless enrichment;

V – the claim for civil indemnification;

VI – the claim for restitution of revenues or dividends received under deceit, with
the time period counting from the date the distribution was voted;
